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11
                                  UNITED STATES DISTRICT COURT
12
                                EASTERN DISTRICT OF CALIFORNIA
13

14
      MARK BAIRD and                                 Case No. 2:19-CV-00617-KJM-AC
15    RICHARD GALLARDO,
                                                     MEMORANDUM OF POINTS AND
16                       Plaintiffs,                 AUTHORITIES ISO PLAINTIFF'S
17                                                   CROSS-MOTION FOR SUMMARY
             v.
                                                     JUDGMENT AND IOT
18
      ROB BONTA, in his official capacity as         DEFENDANT'S MOTION
19    Attorney General of the State of California,
                                                     Date:           November 3, 2023
20                                                   Time:           10:00 a.m.
                                                     Courtroom:       3
21                       Defendant.
                                                     Judge:          Hon. Kimberly J. Mueller
22                                                   Trial Date:     None set
                                                     Action Filed:   April 9, 2019
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 1
                     The right to self defence is the first law of nature: in most
 2                   governments it has been the study of rulers to confine the right within
                     the narrowest limits possible.
 3
                     Wherever standing armies are kept up, and the right of the people to
 4                   keep and bear arms is, under any colour or pretext whatsoever,
                     prohibited, liberty, if not already annihilated, is on the brink of
 5                   destruction.
 6   D.C. v. Heller, 554 U.S. 570, 606 (2008) (citation omitted).
 7                                      PRELIMINARY STATEMENT

 8           Plaintiffs Mark Baird and Richard Gallardo (“Plaintiffs”) by and through their attorneys,

 9   The Bellantoni Law Firm, submit the following Memorandum of Points and Authorities, Statement

10   of Undisputed Facts, and accompanying declarations and exhibits in support of their cross-motion

11   for summary judgment and in opposition to Defendant’s motion for summary judgment.

12                                  UNDISPUTED MATERIAL FACTS 1

13           The material facts are not in dispute. For several years now, Plaintiffs have sought to

14   peaceably open carry handguns for self-defense throughout the State of California. But the open

15   carriage of a handgun in California is a crime -- whether loaded (Cal. Penal Code § 25850) or

16   unloaded (Cal. Penal Code § 26350). Neither Plaintiff falls within any of the statutory exceptions

17   to prosecution. 2 [See, Counterstatement of Facts (“COF”) at Nos. 3-5, 7-27.

18           California implements a ‘may issue’ licensing scheme. On its face, the regime purports to

19   offer concealed and, with geographical limitations, open carry licenses. California Penal Code

20   sections 26150, 26155. In practice, the only type of license issued is concealed carry. COF at 20-

21   27.

22           And even if imposing a licensing requirement for open carry was consistent with the plain

23   text of the Second Amendment, which it is not, no such license has been issued by California since

24   open carry was foreclosed by the State in 2012. COF at 21-22. Indeed, during the 4 years of this

25

26   1
       Plaintiffs’ responses to Defendant’s Statement of Facts, and their Counterstatement of Facts, are fully
     incorporated herein by reference.
27   2
       Plaintiffs do not hold California concealed carry licenses. Even if they did, the existence of alternative
     modality of exercising the rights protected by the Second Amendment is no defense to the State’s
28   constitutional violations.                           1
                   __________________________________________________________
                  MEMORANDUM OF POINTS & AUTHORITIES ISO PLAINTIFFS’ CROSS-MOTION
             FOR SUMMARY JUDGMENT AND IOT DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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